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                   Exhibit 14
                                Case 3:16-cr-00411-VC Document 116-14 Filed 09/19/17 Page 2 of 2
(22825 unread) - naummorgovsky@yahoo.com - Yahoo Mail                                                                                                                8/22/17, 3)19 PM


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                                        All     Naum Morgovsky, search your mailbox                                Search Mail         Search Web             Home          N



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                                                                                                                                                                              Re: Opportunity

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  Inbox (9999+)                         Re: Opportunity
  Drafts (228)

  Sent                                  Naum Morgovsky <naummorgovsky@yahoo.com>                                            09/18/12 at 11:29 AM
                                        To Devin Standard
  Archive

  Spam (42)                             Hi Devin,
                                        Considering other available options for loose lenses, your prices are on the high side. I like the
  Trash
                                        quality of your product, but I don't have to have mil-spec lenses at this point and see no reason
  Smart Views                           paying a premium for something that the market may not fully appreciate, especially that even
    Important                           customized mil-spec lenses are available at lower prices.
                                        If you will find a way to get the prices down by, for example, eliminating the extra costs associated
    Unread
                                        with the lenses' conformance with mil-specs (which I understand to be somewhat a myth anyway),
    Starred                             I don't have a problem placing an order this week. Please let me know ASAP because I'm
    People                              exploring other options right now and need to make pertinent decisions very soon.
    Social                              Best regards, Naum
    Shopping
    Travel
    Finance                             From: Devin Standard <Devin.Standard@Janostech.com>
    silverman                           To: Naum Morgovsky <naummorgovsky@yahoo.com>
                                        Sent: Tuesday, September 18, 2012 7:02 PM
    mseymour
                                        Subject: Opportunity
    bartfield
    montgomery                          Hi Naum:
    seymour
                                        I have been authorized to oﬀer you a 5% discount oﬀ the Quote #610243 if you will place an order
    rosas
                                        this week.
    cheo                                Please let me know if that is of interest to you.
  Folders                               Rgds,
    Drafts
                                        Devin S. Standard
    Notes                               Senior Account Manager
    Sent Messages                       Janos Technology
    untitled                            The Power of Focus
                                        WWW.JanosTech.com
  Sponsored                             Devin.Standard@Janostech.com
                                        (603) 313-2502




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